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UNITED STATES BANKRUPTCY COURT
DISTRICT OF OREGON
PDF FILE WITH AUDIO FILE ATTACHMENT

      2022-31873
      Blue Moon Property Group, LLC



      Case Type :                    bk
      Case Number :                  2022-31873
      Case Title :                   Blue Moon Property Group, LLC

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                        Case 22-31873-thp11                 Doc 131         Filed 07/12/23
